 

Case 10-12697-RAM Doc1 Filed 02/04/10 Page 1 ot 6

Bt (OMficial Form 1) (1-08)

United §

Name of of Delator RIN, ast. First MLE

[Al Other Names used | by the Debtor in the fs 8 years
(onclude married. maiden, and trade names)

tates Bankruptcy Court

TP Name of font Debtor (Spouse) (Last, First,
~ TAL Cther Narues used by the Jornt Debtor |

|

Yoluntary Petition
Middic)

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nthe last & vears
(include mamied, maiden, and trade names

 

Last four digits of Soc Sec or Indvidual-Thxpaver | D CITIN) No /Camolete EIN |

 

 

 

 

 

 

                                

 

(ast our digits of Soc See or Indvidual-Taxpayer 1D (TIN) No /C oniplele EIN
(tf more than one, state all) THEO (if more than one, state al!)
Street Address of Debtor (No. ana Street, City, and ng Street Address of Jot Debtor (No. and Su¢et, City, and State) oo
o !
NET NE Glee Braclye
> t
Viel bores FL 3F/SSE
I) H / Wi te 55 ip CODE [Zp CODE |
County of Residence OT ape Place of Business County of Residence or of the Principal Place e of Business ~]
Lite! 2 Dee 7
Mailing Address of Debtor (f different from street address) Mailing Addr i“ stteet addreys)
F°C> ak JaRCGA
/ ;
Belbruved Ev. 38083 [iP CODE | [71P CODE
Locatioh of Pracipal Assets of Business Debtor (if different from street address above) |
(iP CODE |

 

i -
Nature of Business

(Check one box.)

0
O

Type of Debtor
(Form of Organization)
(Check one bax.)

. Health Care Business

a Individual (includes Joint Debtors)
See Exhibit D on page 2 of ths form
C) Corporation (includes LLC and LLP)
CO Partnership
(i Other (if debtor is not one of the above entiues,
check this box and state type ofentity below.)

11U.S-C. § 101(51B)
Railroad

Stockbroker
Commodity Broker
"Clearing Rank

Other

O
0
a
CJ

(Check box, ifapplicab

OQ

 

 

Single Asset Real Estate as defined in

Tax-Exempt Entity

Debtor 1s a tax-exempt organization
under Title 26 ofthe United States
Cade (the Intenai Revenue Code)

Chapter 9

Chapter 11
Chapter 12
Chapter 13

Main Proceeding
Chapter 15 Petinon for
Recognition of a Foreign
Nonmain Proceeding

Q
O
O
yon 8

Chapter of Bankruptcy Code Under Which
the Petition is Filed (Check one box.)
Chapter 7 C] | Chapter 15 Petition for
Recognition of a Foreign

 

taets are primarily consunier

debts, defined in JT USC
6 i01(8) as “incurred by an
individual primarily for a
personal, farmly, or hese
hold purpose.”

C) bebis are primary

le }
bustness debts

 

Nature of Debts
(Cneck one box )

|

 

Filing Fee (Check one box )
O
PH Fig Fee to be paid in instaliments (applicable to individuals only). Must attach

signed apphcation for the court's consideration certifying that the debtor 1s
unable to pay fee except in installments Rule 1006(b). See Official Form 34

Full Filing Fee attached

Filing Fee waiver requested (applicable to chapter 7 individuals only) Must
attach signed application for the court’s consideration. See Official Form 3B

Oj

 

Chapter Ji semi

Check one box:
C.8 }0151D)

{} Debtor :s a small business debtor as defined in }1 U.S
(J Debtor is not a small busmess debtor as defined in }1 U S.C. § 101(S1D)
Check if:

O
insiders or affiliates) are less than $2,190,000

Check all applicable boxes:
() A plan is being fited with this petition
[J Acceptances of the plan were solicited prepdtition from one or more classes

Debtor's apgregate noncontingent liquidated debts (excluding debts owed to
of creditors, in accordance with 11 U S.C

6) 1 126¢b)

 

Statistica’ Administrative Information

THIS SPACE I$ FOR
COURRUSE ONLY

 

 

Estimated Assets

0 CJ ae a)

{3 Debtor estimatcs that funds will be available for distribution to unsecured creditors fo.

i) Debtor estimates that, after any exempt property is excluded and admnistralive expenses paid, there will be no funds available fog ~

distribution ta unsecured creditors rm

Estymated Number of Creditors — to
wo O O Oo o oO oO oO mr OP

1-49 50.99 100-199 260-999 1,000- 5,001- 10,001 - 25.001 - 50,C0I- or —

§,000 10,060 25,000 $0,000 100,060

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$50,000 $100,000 $500,900 to $1 ta $10 to $50 16 $100 to $500 to $1 billion tome
mien million mitinon ation millian ay
Estimated Liabilities a
Cj CJ CJ O a Cc) a)
$0 16 $50,001 to $100,001 te $500,001 $1,000.00 1 SION GOT 880. C0001 SLAG enAaDt $590,000.00! More than
SE G,000 £160,000 $500,000 to $1 tu $lu to $30 to Sig to $540 to S) billion a] buiken
milion millon millon lantion muthon

 

 
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1 (Official Form 1) (108)

Pape 2

 

Voluntary Petition
(This page must be completed and filed in every case )

 

Swe et MALIN

 

All Prior Bankruptcy Cases Filed Within Last 8 Years dr mare than (wo, atlach addiinal shicet )

 

 

 

 

Location Case Number Date Filed
Wheie Filed: “. (

Location Case Nunaber: Date Filed
Where Filed

 

Pending Bankruptcy Case Filed\by any Spouse, Pariner, or Affiliate of his Debtar (If more than onc, allach addunmal she

ict)

 

Name of Dehtor: Case Number Date File

id

 

Disnict Relationship: Judge

 

 

Exhibit B
(To be completed if debtor is an indivs
whose debts are primarily consumer de

Exhibit A

(lo be completed if debtor is required to file periodic reports {e.g., forms 10K and
10Q) with the Securities and Exchange Cammission pursuant to Section 13 or 15(d)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I the attorney for the petitioner named in the foregoing

have informed the petitioner that [he or she] may procee
12, of 13 of utle Ut, United States Cade, and have
available under cach such chapter. I further certuly that
debtor the notice required by 11 U.S.C. § 342(b).

Exhibit A is atlached and made a part of this peution. x

O

dual

pts.)

petinun, declare that |
d under chapter 7, If.
explained the relicf
have delivered to the

 

 

Signature of Attomey for Debtor(s) (Date)

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threal of imminent and identifiable harm to public health ¢

O
QO

Yes, and Exhibit C is attached and made a part of this petition.

No.

safety?

 

Exhibit D

1 Exhibit D completed and signed by the debtor is attached and made a part of this petition.

If this is a joint petition:

© Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

 

Information Regarding the Debtor - Venue
(Check any applicable box.}

 

 

 

filing of the petition.

Debtor corifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1).

 

O Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days unmediately
preceding the date of this petition or for a longer pant of such 180 days than in any other District.

O There 1s a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this District.

oO Debtor is a deblor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federa! or state court} in
this District, or the inte-ests of the parties will be served in regard to the rehef sought in this District.

Certitication by a Debtor Who Resides as a Tenant of Residential Pruperty
(Check ail applicable boxes.)
oO Landlord has a judgment against the debtor for possession of debior's residence. (If box checked, complete the following )
(Name of landlord that obtained judgment)
t Address of landlord)

QO Debtor claims that under applicable nanbankruptcy law, there ure ciicumstances unde: which the debtor would be permitted to cure the

entire monetary default that gave rise to the yudgment for possession, alice the yudyment for possession was entercd, and

O Debtor has inchided with this peauon the deposit with the Gault af any rent thal would beconic due during the 30-day period afiel the

 

 

 

 
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B | (Official Form) | (1/08)

Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

 

Name of Debtor(s):

 

Signatures

 

 

1 declare under penalty of perjury that the information provided in this petition is true

and correct.
[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12

or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

{If no attomey represents me and no bankruptcy petition preparer signs the petition} I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,

specified in he.
Kp xX

Signature(s) of Debtor(s) (individual/Joint)

 

 

 

 

 

I declare under penalty of perjury that the informa
and correct, that I am the foreign representative d
and that I am authorized to file this petition.

(Check only one box.)

C] Pursuant to 11 U.S.C. § 1511, I request relief

Signature of a Foreign Representative

ol request relief in accordance with chapter 15 of

tion provided in this petition is true
fa debtor ina foreign proceeding,

title 11, United States Code.

Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

chapter of title 11 specified in this petition. Ace

n accordance with the

rtified copy of the

order granting recognition of the foreign main] proceeding is attached.

 

 

 

 

 

* Signature of Debtor (Signature of Foreign Representative)
x
TT ~ . 5 r i i

Signature of Joint eee 25 Ye 9.23. “Woe (Printed Name of Foreign Representative)

Telephone Number ee. attorney) auc

Date

Signature of Attorney* Signature of Non-Attorney Bankruptty Petition Preparer

x I declare under penalty of perjury that: (1) I am 2 bankruptcy petition preparer as

*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

 

Signature of Attomey for Debtor(s)

provided the debtor with a copy of this document

 

Printed Name of Attorney for Debtor(s)

required under II U.S.C. §§ 110(b), 110(h), an
guidelines have been promulgated pursuant to 11 U.

 

fee for services chargeable by bankruptcy petition p
notice of the maximum amount before preparing an

 

Address

 

 

 

Telephone Number

 

Date

 

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true | X

and correct, and that | have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

xX

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

or accepting any fee from the debtor, as required int
attached.

defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have

and the notices and information
d 342(b); and, (3)if rules or
S.C. § 110(h) setting a maximum
reparers, I have given the debtor
document for filing for a debtor
hat section. Official Form 19 is

 

Printed Name and title, if any, of Bankruptcy Pe

ition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an individual,

State the Social-Security number of the officer,
parmer of the bankruptcy petition preparer.) (Re

principal, responsible person or
quired by 11 U.S.C. § 110.)

 

Address

 

 

 

Date

Signature of bankruptcy petition Preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided abave.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy
individual.

petition preparer is not an

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both 11 USC. § 110; 18 U.S.C. § 156.

 

 

 
4.

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BID (ffeil Form 1, Exhitut D) (12/08)

UNITED STATES BANKRUPTCY Court

 

In re fy ’ of ! yw Case No. | ae

Debtor tif known)

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below, If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any Case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. [f your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors?

collection activities,

Every individual debtor must file this Exhibit D. [fa joint petition is filed \each Spouse

must complete and file a separate Exhibit D Check one of the five statements beldw and attach

any documents as directed

(31. Within the 180 days before the filing of my bankruptcy case, ] received a briefing
approved by the United States trustee or bankruptdy

from a credit counseling agency
and assisted me in

administrator that outlined the Opportunities for available credit counseling
performing a related budget analysis, and | have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan

developed through the agency

a Within the 180 days before the filing of my bankruptcy case, I received a bnefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the Opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. Fou must file a copy ofa certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency

40 later than 15 days after sour bankrupicy case is filed

 
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BD (Cifics! Foun i, Ex D!(12-08) - Con

33. I certify that I requested credit counseling services from an approved agency byt

Pape?

“as unable to obtain the services during the five days from the time I made mylrequest, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement

so 1 Can tile my bankruptey case now /Summarize exipent circumstances here |)

If your certification is Satisfactory to the court, you must still obtain
counseling briefing within the first 30 days after you file your bankruptcy p
promptly file a certificate from the agency that provided the counseling, tog
copy of any debt management plan developed through the agency. Failure ¢

requirements may result in dismissal of your case. Any extension of the 30-d

can be granted only for cause and is limited to a maximum of 15 days. Your

be dismissed if the court is not Satisfied with your reasons for filing your ban

without first receiving a credit counseling briefing.

(94. 1am not required to receive a credit counseling briefing because of:

the credit

etition and
ether with a

0 fulfill these

ay deadline

case may also

Check the

applicable Sfatement.)] [Must be accompanted by a mation for determination by the court]

CO Incapacity. (Defined in
ulness or mental deficiency so as to be incapable of realizing and making
decisions with respect to financial responsibihties. );

FDisabihty (Defined in 1] U S.C. § 109(h)(4) as physically imp

liUS.C.§ 109(h)(4) as impaired by rea

rational

atred to the

extent of being unable, after reasonable effort, to participate in a credit counseling

briefing in person, by telephone, or through the Internet. );
CO Active military duty in a military combat zone.

(JS. The United States trustee or bankruptcy administrator has determined t

counseling requirement of 11 USC. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above ig

correct.

/
Signature of Debtor: ~—_—_ _

Date A-7

true and

 

kruptcy case

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RU Boe 17tb
Sa LMF MEG IBG 3-120

 

 
